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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             STATESBORO DIVISION


 DANIEL ERIC COBBLE,

               Petitioner,                               CIVIL ACTION NO.: 6:20-cv-114

        v.

 WARDEN BOBBITT,

               Respondent.


                                          ORDER

       After an independent and de novo review of the entire record, the undersigned concurs with

the Magistrate Judge’s Report and Recommendation, (doc. 15).           Petitioner Daniel Cobble

(“Cobble”) did not file Objections to the Report and Recommendation.

       Accordingly, the Court ADOPTS the Magistrate Judge’s Report and Recommendation as

the opinion of the Court. The Court DISMISSES without prejudice Cobble’s 28 U.S.C. § 2241

Petition for Writ of Habeas Corpus for failure to follow this Court’s Order, DIRECTS the Clerk

of Court to CLOSE this case and enter the appropriate judgment of dismissal, and DENIES

Cobble in forma pauperis status on appeal.

       SO ORDERED, this 25th day of May, 2021.




                                     R. STAN BAKER
                                     UNITED STATES DISTRICT JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
